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                    Daniel Goldsmith Ruggiero, Esquire*
                    *Admitted to practice law in ME, MA, RI, CT, NY, NJ & PA (state courts)
                 ME, MA, RI, CT, NDNY, WDNY, EDNY, SDNY, NJ, EDPA & MDPA (federal courts)




                                                October 4, 2020

Re:     Laufer V. Pratik-Sonam
        INDEX #:     3:20-CV-30087

To Whom It May Concern:

       I apologize for the delay in filing this letter. I have been very ill. The parties have settled
this matter and are finalizing the details. As a result, we did not select whether our case can be
assigned to a Magistrate. We expect to file a dismissal in the coming days.




Sincerely,


/S/ Daniel G. Ruggiero

Daniel Goldsmith Ruggiero

cc/     Counsel of Record through ECF filing sytem




* Please send all correspondence to MA office
** By appointment only
Massachusetts Office**                              New Jersey Office**            New York Office**
275 Grove Street Suite 2-400                        One Gateway Center             41 Madison Avenue
Newton, MA 02466                                    Suite 2600                     25th Floor – Suite 2539
druggieroesq@gmail.com                              Newark, NJ 07102               New York, NY 10010
339-237-0343 (phone)                                (By appointment only)
339-707-2808 (fax)
